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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


Shanesia Jaudon,

                Plaintiff,                                CIVIL ACTION NO.: 2:17-CV-118

       v.

Robert C. Sasser, et al.,

                Defendants.

                                        STATUS REPORT

       With the discovery period having now concluded in the above captioned case, the Parties

make the following report to the Court.

I.     DISCOVERY

       A. Is all discovery completed in this case?

                ☐ Yes          ☒ No

               If “No”, please list what discovery is remaining:

                By agreement of counsel, three remaining depositions are scheduled for
                February 26, 2019.

       B. Are there any discovery issues which have been or will be brought before the Court
          for resolution?

                ☐ Yes          ☒ No

               If “Yes”, please briefly explain:

                Click here to enter text.
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II.   SETTLEMENT

      A. Have the parties made efforts to resolve this case?

             ☐ Yes           ☒ No

            If “Yes”, please explain those efforts:

             Click here to enter text.

      B. Are the parties prepared to discuss settlement of this case with the Court at this time?

             ☐ Yes           ☒ No

            If “No”, please explain:

             Defendants intend to move for summary judgment on some or all claims, and
             Defendants would like to obtain a ruling on that anticipated motion before
             engaging in settlement discussions.

      C. Are there any third parties and/or lien holders that should be included in any
         settlement discussions for this case?

             ☐ Yes           ☒ No

            If “Yes”, please list those parties:

             Click here to enter text.

      D. The Parties propose the following agreed upon dates, prior to the deadline for filing
         motions, for conducting a status conference. (Please provide several dates for the
         Court’s consideration in scheduling. Regardless of whether the Parties seek to
         discuss settlement, the Court may require that each party have a representative with
         full settlement authority present.)

                    If the Court wishes to conduct a status conference, the undersigned
             can be available on March 11, 14, and 15.
                    As an additional note, if the Court wishes to have a status conference
             and requires that someone with settlement authority be present, Defendants
             respectfully request that they be allowed to have someone with settlement
             authority participate by telephone. Alternatively, Defendants request that the
             conference be scheduled for a later date in order to allow Defendants’

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               representatives ample time to make travel arrangements. In this regard,
               Defendants would need to have present a representative from both the
               Georgia Interlocal Risk Management Agency and the Association of County
               Commissioners of Georgia-Interlocal Risk Management Agency. Those
               representatives are located in Atlanta.


III.   MOTIONS

       A. The Plaintiff(s) anticipate filing the following Motions:

                       ☒       None
                       ☐       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

       B. The Defendant(s) anticipate filing the following Motions:

                       ☐       None
                       ☒       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

IV.    ADDITIONAL MATTERS

       If there are any other matters regarding this case that the Parties seek to bring to the

Court’s attention at this time, please briefly explain:


       The undersigned are not aware of any other matters at this time.



Dated: February 22, 2019




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                       /s/ James A. Yancey, Jr.
                                                    Counsel for Plaintiff(s)



                       /s/ Steven G. Blackerby
                                                  Counsel for Defendant(s)




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